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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KEVIN O’HORA,                          :                        17-cv-05748(RJS)
                                       :
                     Plaintiff,        :                        ECF CASE
                                       :
     -against-                         :                        DEFENDANT S&P GLOBAL
                                       :                        INC.’S RULE 7.1 DISCLOSURE
S&P GLOBAL INC.,                       :                        STATEMENT
                                       :
                     Defendant.        :
                                       :
                                       :
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       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and to enable judges and

magistrate judges of the Court to evaluate possible disqualification and recusal, the undersigned

is counsel of record for Defendant S&P Global Inc. S&P Global Inc. has no corporate parent

and no publicly-held corporation owns ten percent (10%) or more of its stock.

Dated: September 28, 2017
       New York, New York                            Respectfully submitted,

                                                     /s/ Gregory I. Rasin
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